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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 SECURITIES AND EXCHANGE
 COMMISSION,                                               RECEIVER’S SIXTEENTH
                        Plaintiff                             STATUS REPORT
                                                          (JANUARY 1, 2022 THROUGH
         v.                                                    MARCH 31, 2022)

 TRAFFIC MONSOON, LLC, a Utah Limited                           2:16-cv-00832-JNP
 Liability Company, and CHARLES DAVID
                                                           The Honorable Jill N. Parrish
 SCOVILLE, an individual,

                        Defendants.


        Peggy Hunt, the Court-appointed Receiver (the “Receiver”) for Traffic Monsoon, LLC

(“Traffic Monsoon”), and the assets of Charles David Scoville that were obtained directly or

indirectly from Traffic Monsoon, hereby submits this Sixteenth Status Report (the “Status

Report”) for the period of January 1, 2022 through March 31, 2022 (the “Reporting Period”).

This Status Report is posted on the website for the receivership at

www.trafficmonsoonreceivership.com (the “Receivership Website”).




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I.        Introduction

          Final judgments have now been entered against Defendants Traffic Monsoon and Charles

David Scoville (“Scoville”, together with Traffic Monsoon, the “Defendants”) in this civil

enforcement action, and criminal charges are pending against the Defendants. The Receiver

continues to administer the Receivership Estate with the goal of making a distribution of funds to

those holding allowed claims against the Receivership Estate. This Status Report provides

information about the Receiver’s administration of the Receivership Estate during the Reporting

Period. The documents filed with the Court referenced in this Status Report are posted on the

Receivership’s website at www.trafficmonsoonreceivership.com (the “Receivership Website”).

II.       Status Reports

          The Receiver files quarterly Status Reports which together with information posted on

the Receivership Website may be consulted for information about this case, the Receiver’s

ongoing investigation, and her and administration of the Receivership Estate. To date the

following Status Reports have been filed and are available on the Receivership Website:

Receiver’s First Status Report (July 26, 2016 Through March 31, 2017); 1 Second Status Report

(April 1, 2017 Through June 30, 2017); 2 Third Status Report (July 1, 2017 Through September




1
  Docket No. 91. At the time that this Status Report was filed, the Receiver also filed Declarations outlining her ini-
tial investigation in this case. See Declaration of Receiver Peggy Hunt (Communications) (the “Communications
Declaration”), Docket No. 54; and the Declaration of Peggy Hunt (Business Operations) (the “Business Operations
Declaration”), Docket No. 55.
2
    Docket No. 104.

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30, 2017) 3; Fourth Status Report (October 1, 2017 Through December 31, 2017); 4 Fifth Status

Report (January 1, 2018 Through March 31, 2018); 5 Sixth Status Report (April 1, 2018 Through

June 30, 2018); 6 Seventh Status Report (July 1, 2018 Through June 30, 2019); 7 Eighth Status

Report (July 1, 2019 Through March 30, 2020); 8 Ninth Status Report (April 1, 2020 Through

June 30, 2020); 9 Tenth Status Report (July 1, 2020 Through September 30, 2020; 10 Eleventh

Status Report (October 1, 2020 Through December 31, 2020); 11 Twelfth Status Report (January

1, 2021 Through March 31, 2021); 12 Thirteenth Status Report (April 1, 2021 Through June 30,

2021); 13 Fourteenth Status Report (July 1, 2021 Through September 30, 2021); 14 and Fifteenth

Status Report (October 1, 2021 Through December 31, 2021) 15(collectively, the “Prior Status

Reports”).



3
    Docket No. 108.
4
    Docket No. 122.
5
    Docket No. 153.
6
    Docket No. 162
7
    Docket No. 194.
8
    Docket No. 239.
9
    Docket No. 268.
10
     Docket No. 279.
11
     Docket No. 297.
12
     Docket No. 330.
13
     Docket No. 378.
14
     Docket No. 395.
15
     Docket No. 457.

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           In addition to her quarterly Status Reports, the Receiver has filed the following three

reports reporting on her administration of the Proofs of Claim submitted in this case: Receiver’s

Claim Status Report (the “First Claims Report”); 16 Receiver’s Status Report Regarding Omnibus

Objections to Proofs of Claims (the “Second Claims Report”); 17 and Receiver’s Third Status

Report Regarding Claims Filing and Objection Process (the “Third Claims Report”, together

with the First Claims Report and the Second Claims Report, the “Claims Reports”). 18

III.       Civil Judgments and Criminal Action Against the Defendants

           The Securities and Exchange Commission (“SEC”) commenced this civil enforcement

action against Defendants in 2016, asserting that Defendants had violated securities laws of the

United States. A Temporary Restraining Order and Order Freezing Assets 19 was entered by the

Court, and the Receiver was appointed to, among other things, take custody and control of

Traffic Monsoon and the assets of Scoville. 20 After an evidentiary hearing, the Court entered a

Preliminary Injunction 21 together with a Memorandum Decision and Order 22 finding among

other things, that the SEC made a clear showing that it was likely to succeed in establishing that

Traffic Monsoon was a Ponzi scheme. Defendants appealed and in January 2019 the United



16
     Docket No. 257.
17
     Docket No. 314 (relating to the initial claim objections filed by the Receiver).
18
     Docket No. 470 (discussing entire claim objection process through April 15, 2022).
19
     See Docket Nos. 8, 14.
20
     Docket No. 11 (entered July 27, 2016); see Docket Nos. 81, 120 (amendments).
21
     Docket No. 80 (entered March 28, 2017).
22
     Docket No. 79 (entered March 28, 2017).

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States Court of Appeals for the Tenth Circuit affirmed the Court’s orders. 23 The United States

Supreme Court also denied the Defendants’ Petition for a Writ of Certiorari in November

2019. 24

           Final judgments have now been entered in this case against Scoville 25 and Traffic

Monsoon. 26 Scoville and his agents are enjoined from operating any business similar to Traffic

Monsoon, and Scoville has been ordered to disgorge $2,537,642.93 to the SEC for victim

compensation and pay civil penalties in the amount of $2,426,749.00. 27 Traffic Monsoon

consented to entry of a final judgment against it, and agreed not to participate in the issuance,

purchase, offer, or sale of any security. Traffic Monsoon also agreed to disgorge

$145,736,805.22 to the SEC, which is deemed satisfied by the collection efforts to date and the

Receiver’s future distribution of funds to those holding allowed claims. 28

           In addition to the above-described civil enforcement action, Defendants are facing

criminal charges. 29 Specifically, on August 5, 2020, the United States obtained a criminal




23
     See SEC v. Scoville, 913 F.3d 1204 (10th Cir. 2019).
24
  See S. Ct. Case No. 18-1566. The Court denied Scoville’s requests for attorney’s fees related to the appeals.
See Docket No. 244.
25
  Docket No. 285 (Final Judgment as to Defendant Charles Scoville, entered Jan. 5, 2021); see Docket No. 284
(Memorandum Decision and Order Granting Motion for Default Judgment Against Charles Scoville, filed Jan. 5,
2021).
26
  Docket No. 448 (Final Judgment as to Defendant Traffic Monsoon, LLC, entered Feb. 4, 2022); see Docket No.
446 (Consent of Defendant Traffic Monsoon, LLC, filed Feb. 3, 2022).
27
     See Docket Nos. 284, 285.
28
     See Docket Nos. 446, 448.
29
     See United States v. Scoville et al., Case No. 2:20-cr-00242 (D. Utah).

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indictment against Defendants, charging them with wire fraud under 18 U.S.C. § 1343 and tax

fraud under 26 U.S.C. § 7206. 30 This criminal case is pending.

IV.        Work Done by the Receiver and Her Professionals During the Reporting Period

           The primary work performed by the Receiver and her professionals during the Reporting

Period is outlined below:

           A. Proofs of Claim Submitted

           Pursuant to the Order Granting Renewed and Amended Motion Seeking Approval of (1)

Claims Process; (2) Setting Claims Bar Date; and (3) Certain Notice Procedures (the “Claims

Process Order”), 31 the deadline to submit Proofs of Claim in this case expired at 11:59 p.m.

(Mountain Time) on April 10, 2020. As part of the procedures approved by the Court in the

Claims Process Order, Claimants were provided the amount of their claim as calculated by the

Receiver (the “Scheduled Claim Amount”) and given the option to accept the Scheduled Claim

Amount, or reject the Scheduled Claim Amount, assert a different amount and provide

information about their asserted claim.

           The Receiver received a total of 23,221 Proofs of Claim as outlined in the Claims Reports

incorporated herein. 32 Excluding one Proof of Claim asserting a claim in the amount of

$99,999,999,999,999.99, investors submitted Proofs of Claim asserting $216,496,877 in claims.

PayPal also submitted a Proof of Claim asserting a secured claim in the amount of $3,144,021. 33


30
     See id., Docket No. 1.
31
     Docket No. 232.
32
     See Third Claims Report ¶ 4.
33
     See Third Claims Report ¶ 4 and Exh. B.

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The procedures approved by the Court as part of the Claims Process Order proved to be

successful, as over 14,276 Proofs of Claim asserting claims totaling $43,177,843 were allowed

without the need for objection. 34 During the Reporting Period, the Receiver and her professionals

have been working on matters related to contested Proofs of Claim as discussed below.

          B. Claim Objections and the Third Status Report

           For disputed Proofs of Claim, the Receiver proposed objection procedures which were

approved by the Court pursuant to an Order Granting Receiver’s Ex Parte Motion for Approval

of Claims Objection Process and Settlement Authority (the “Approved Objection Procedures”). 35

To date, the Receiver has served a total of twenty-two objections as set forth in the Summary of

Served Claim Objections attached as Exhibit A to the Third Status Report. 36 Work related to

these objections during the Reporting Period is outlined in subparagraph 1 below. During the

Reporting Period, the Receiver and her professionals also conducted a comprehensive review of

the status of claims in this case resulting in the Third Claims Report discussed below in

subparagraph 2.

                   1.     Work on Claim Objections During the Reporting Period

           As set forth in the Notice of Objections to Proofs of Claim filed with the Court on

November 2, 2021, 37 the Receiver served three targeted Objections on the holders of twenty-one



34
  See Third Claims Report ¶ 5 and Exh. B. This amount has increased from the amounts stated in earlier Claims Re-
ports and Prior Status Reports because of the work done during this Reporting Period discussed below.
35
     Docket No. 277.
36
     Docket No. 470.
37
     Docket No. 392.

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Proofs of Claim asserting over $2.2 million in claims. 38 The deadline to respond to these

Objections expired on December 1, 2021. Eighteen of the Claimants served did not respond to

the Objections and on February 15, 2022, the Receiver filed a Fifth Verified Motion Requesting

Order (I) Disallowing Certain Proofs of Claim in their entirety and (II) Allowing Certain Proofs

of Claim in a Modified Amount (No Response Claims) 39 regarding these Proofs of Claim. The

Court granted this Motion on April 25, 2022, reducing asserted claims by approximately 1.3

million.40

           The Receiver also filed and served two omnibus Objections to Proofs of Claim on

December 13, 2021, 41 objecting to a total of 1,580 Proofs of Claim that provided insufficient

supporting documentation or asserted claims in excess of the Receiver’s records. The deadline to

respond to these Objections expired on January 14, 2022, and 1,410 claimants did not respond.

During the Reporting Period, the Receiver and her professionals commenced work on a Sixth

Verified Motion Requesting Order (I) Disallowing Certain Proofs of Claim in their entirety and

(II) Allowing Certain Proofs of Claim in a Modified Amount (No Response Claims) (the “Sixth

Verified Motion”) 42 which was filed on April 15, 2022. Information about this Motion will be

discussed in the next status report.




38
     See Affidavits of Service, Docket Nos. 398 – 418.
39
     Docket No. 458.
40
     Docket No. 477; see Third Claims Report, Exh. A.
41
     Docket Nos. 420 – 421.
42
     Docket No. 468.
                                                         8
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                    2.       The Third Claims Report

           The Receiver filed her Third Claims Report on April 15, 2022, after the close of the

Reporting Period. Much of the work related to this Third Claims Report, however, was done

during the Reporting Period. Specifically, working with Epiq and her professionals, the Receiver

conducted a comprehensive analysis and review of the status of all Proofs of Claim submitted to

determine the most efficient way to bring the claims process to an end. The information was

collected and included in the Third Claims Report.

           Based on work done during the Reporting Period, and assuming the Sixth Verified

Motion is granted, the Receiver reports that of the 23,221 Proofs of Claim filed, 22,710 have

been resolved. 43 Of these amounts, the $99 Trillion Claim and disputed investor claims asserting

$123,551,256 have been disallowed – resulting in an approximate 70% reduction of asserted

investor claims (not including the $99 Trillion Claim). 44 Allowed investor claims at this time

total $55,132,872. 45 There are only 511 claims, asserting $12,923,100, that remain unresolved. 46

The Receiver commenced work during the Reporting Period to address these unresolved claims 47

either by settlement or Court order. 48




43
     Third Claims Report ¶¶ 4, 13 and Exh. B.
44
     Third Claims Report, ¶ 13 and Exh. B.
45
     Third Claims Report, ¶ 14 and Exh. B.
46
     Third Claims Report, ¶¶ 14, 15 and Exh. B.
47
     Other than the PayPal Claim, which remains subject to resolution by Special Counsel.
48
     See Third Claims Report, ¶¶ 20-22.
                                                           9
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          C. Italian Investor Claims

           The Receiver has continued to work on issues related to Proofs of Claim submitted by a

set of investors located in Italy, who invested monies in Traffic Monsoon through Fabiano

Santos (“Santos”) and his entity, Advertising Corp. Santos, who is currently under criminal

investigation in Italy for fraud, also submitted several Proofs of Claim presumably based on the

investments he made using the Italian investors’ money. The Receiver objected to Santos’s

Proofs of Claim which have been disallowed. A settlement agreement related to the remaining

claims filed by the Italian investors has been drafted during the Reporting Period which is

currently being negotiated. It is anticipated that the parties will enter into a settlement agreement

which the Receiver will submit to the Court for approval.

          D. Asset Recovery

           During the Reporting Period, the Receiver and her professionals continued to pursue

those who profited from their investment in Traffic Monsoon (“Net Winners”) as well as others.

As previously reported, Default Judgments were obtained against Ernest Ganz III and David

Barker, 49 both Net Winners who reside in the United States. The Receiver has domesticated

those Default Judgments and is taking appropriate action related thereto.

           The Receiver has continued to seek appropriate recourse against Net Winners located

outside of the United States. Default Judgments have been entered against Net Winners in the

United Kingdom, 50 and during the Reporting Period, the Receiver continues to work with her



49
     See Hunt v. Aslam, Case No. 2:19-cv-275, Docket Nos. 65, 66.
50
     Hunt v. Aslam, Case No. 2:19-cv-275, Docket Nos. 97, 98, 99, 100, 101.

                                                         10
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counsel located in the United Kingdom to pursue avenues of recovery as to these Default

Judgments. Additionally, Default Judgments against Vincent Boutin, 51 a Net Winner located in

Canada, and Piotr Chajkowski, 52 a Net Winner located in Poland, have been obtained and the

Receiver is taking appropriate action with regard to those Judgments.

           The Receiver also has determined that there may be other claims held by the

Receivership Estate, particularly related to certain entities’ failure to turn over assets of the

Receivership Estate in accordance with the Receivership Order and the Preliminary Injunction.

During the Reporting Period, the Receiver continued efforts to obtain additional funds from

Allied Wallet, an e-wallet company that turned over approximately $4.3 million on the

Receiver’s demand, but improperly charged over $1.8 million in fees and charges both before

and after the commencement of this case. Allied Wallet is currently in liquidation proceedings in

the United Kingdom, and the Receiver has submitted a formal claim in that proceeding. During

the Reporting Period, additional information has been provided to the liquidator and the Receiver

has continued efforts to negotiate an allowed claim.

           The Receiver also has continued to investigate issues related to claims against MH Pillars

Ltd., d/b/a Payza, another e-wallet company that it is believed held funds of Traffic Monsoon at

the time that the Court froze Traffic Monsoon’s assets. Through consensual exchanges of

information, the Receiver obtained significant records from Payza that allowed her to recreate

Traffic Monsoon’s records. The Receiver made demand on Payza for Traffic Monsoon funds that

it appeared Payza held at the time this case was commenced, but Payza refused to turn over any


51
     Hunt v. Aslam, Case No. 2:19-cv-275, Docket No. 112.
52
     Hunt v. Aslam, Case No. 2:19-cv-275, Docket No. 113.
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funds, claiming that if it was holding Traffic Monsoon funds, they were subject to chargebacks

by account holders. Principals of Payza have since been indicted and Payza’s assets have been

the subject of criminal forfeiture proceedings. The Receiver was not provided notice of an

opportunity to submit a claim in the forfeiture proceedings. During the Reporting Period, the

Receiver has continued efforts to have the Receivership Estate’s petition seeking allowance of a

claim recognized in the forfeiture proceedings.

      E. Attending to General Administration of the Receivership Estate

       During the Reporting Period, the Receiver and her professionals have attended to

numerous matters related to the administration of the Receivership Estate. These tasks include,

but are not limited to, monitoring and managing bank accounts; negotiating, when appropriate,

applicable interest rates for funds on deposit; reviewing professional billings and requesting

adjustments when appropriate; following accounting protocols; preparing SFARs (as defined

below); communicating with investors; managing the Receivership Website and information

provided through the Call Center; evaluating and paying costs related to administration and

litigation; evaluating issues related to compliance with applicable tax laws; filing papers required

by applicable tax laws; interfacing with financial account institutions; and coordinating with

governmental entities as requested.

V.     Standardized Fund Accounting Report (“SFAR”)

       A summary of the financial condition of the Receivership Estate for each quarter of the

Reporting Period is set forth in the SFAR attached hereto as Exhibit 1. At the end of the




                                                  12
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Reporting Period, the Receivership Estate had funds in the total amount of $50,165,279.10. 53

Interest income has totaled $6,187.58, 54 and expenses totaled $129,228.95. 55 The expenses

include disbursements to Epiq for data hosting and services, including services related to the

Receivership Website, the Call Center and the claims process.

VI.         Administrative Expenses During the Reporting Period

            The fees and out of pocket expenses of the Receiver, counsel Greenberg Traurig, LLP

(“GT”), accountants Berkeley Research Group (“BRG”) and other approved professionals

(collectively, the “Professionals”) must be approved by the Court prior to payment. The Court

has entered an Order Establishing Administrative Expense Payment Procedures (the “Fee

Procedures Order”), 56 setting forth procedures for the request and payment of professional fees

and expenses in this case. Among other things, the Fee Procedures Order authorizes the Receiver

Professionals to file monthly “Notices of Request for Payment.” Absent objection in accordance

with the Fee Procedures Order, the Receiver may pay 80% of fees and 100% of out-of-pocket

expenses requested in a Notice of Request for Payment. All monthly disbursements and any




53
     See Exh. 1 (SFAR, Line 14).
54
   See id. (Line 4). With the drop in interest rates, interest on the Receivership Estate’s accounts has dropped signifi-
cantly in recent quarters. The Receiver negotiated with the bank holding the accounts to provide a more favorable
rate given the amount on deposit, but given the current federal funds rate, interest income during the Reporting Pe-
riod remained relatively low. During the Reporting Period, the Receiver requested the interest rate be reevaluated
with the anticipated rates being reported. The Receiver will continue to monitor interest rate issues and take appro-
priate actions.
55
     See id. (Line 10).
56
     Docket No. 101.

                                                           13
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other requests for fees and expenses not requested pursuant to a Notice for Request for Payment

are subject to Court approval through “Fee Applications”.

           A.      Pending Fee Applications

           On or about December 7, 2021, the Receiver filed a Fourteenth Interim Fee Application

for Receiver and her Professionals requesting fees and expenses for services rendered from July

1, 2021 through September 30, 2021. 57 Also, on February 25, 2022, a Fifteenth Interim Fee

Application was filed requesting fees and expenses for services rendered from October 1, 2021

through December 31, 2021. 58 At the close of this Reporting Period these Applications were

pending before the Court, but were subsequently approved by the Court on April 11, 2022. 59

           B.      Fees and Expenses Incurred During the Current Reporting Period

           Shortly after filing this Status Report, the Receiver intends to file a Sixteenth Interim Fee

Application for the period of January 1, 2022 through March 31, 2022. That Application will

outline the total hours spent by the Receiver and the Professionals, the fees requested for their

services, and reimbursement of out-of-pocket expenses incurred during the Reporting Period.

None of the fees and expenses have been paid to date, other than those authorized to be paid

under the Fee Procedures Order, all of which will be reported in the intended Fee Application.

Specifically, during the Reporting Period, the Receiver filed Notices of Request for Payment for




57
     Docket No. 396.
58
     Docket No. 460.
59
     See Docket Nos. 464, 465.

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January and February 2022. 60 No objections to those Notices were filed. Accordingly, 80% of

the fees outlined in those Notices were paid, and 100% of the expenses outlined were reimbursed

as authorized by the Fee Procedures Order. 61

VII.       Conclusion

           The Receiver currently holds over $50 million which she would like to distribute to those

with allowed claims against the Receivership Estate. As a result of the work related to the Third

Claims Report, the Receiver anticipates that she will be in a position to consider proposing a

Plan of Distribution in the near future.

           Dated this 13th day of May, 2022.

                                                              RECEIVER


                                                                /s/ Peggy Hunt
                                                              Peggy Hunt, Receiver




60
   Docket Nos. 461, 462. A Notice of Request for Payment for the month of March 2022 was filed on May 2, 2022,
after the close of the Reporting Period. See Docket No. 479. The Receiver intends to pay the fees and expenses no-
ticed therein in accordance with Fee Procedures Order after the objection period ends.
61
     See Exh. 1 (SFAR, Line 10).
                                                        15
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of May, 2022, I caused the foregoing Sixteenth

Status Report (January 1, 2022 Through March 31, 2022) to be electronically filed with the

Clerk of the Court using the CM/ECF system which will send notification of the filing to all

counsel of record in this case.

                                                        /s/ Candy Long




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                                 EXHIBIT 1




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